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                         IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
                                   NEWARK DIVISION


  IN RE: PROTON-PUMP INHIBITOR                             2:17-md-2789 (CCC)(MF)
  PRODUCTS LIABILITY LITIGATION                                  (MDL 2789)
  (NO. II)

  This Document Relates to: ALL ACTIONS                     OCTOBER 11, 2019
                                                          STATUS CONFERENCE
                                                        JOINT STATUS REPORT AND
                                                           PROPOSED AGENDA




        The parties hereby submit their Joint Status Report and Proposed Agenda in advance of the

 October 11, 2019 Status Conference.

   I.   STATUS REPORT

        At the time of this filing, approximately 13,561 potentially related actions with 13,592

 plaintiffs are pending in federal court.

        Currently, approximately 99 related state court actions/plaintiffs are pending in the

 Delaware Superior Court, New Castle County, before Judge Eric M. Davis, 68 related state court

 actions/plaintiffs are pending in the Circuit Court of Cook County, Illinois before Judge Brendan

 A. O’ Brien, 47 related state court actions/plaintiffs are pending in New Jersey state courts in

 Bergen, Middlesex and Camden Counties before various Judges, 1 related action/plaintiff is

 pending in New York Supreme Court in New York County, and 22 related actions/plaintiffs are

 pending in the Court of Common Pleas, Hamilton County, Ohio before Judge Sylvia Hendon.
  II.   PROPOSED AGENDA FOR OCTOBER 11, 2019 STATUS CONFERENCE

        The Parties have met and conferred and propose the following Agenda:

               Plan to Select Bellwether Cases;

                       PSC Request for Defendants’ List of Post-May 1, 2019 Stage 1 Cases;
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                    Amending CMO 21 following entry of a bellwether plan so as to extend
                     appropriate related deadlines;

             Tolling Issues / Defendants’ Motions To Dismiss Related to Cases on the Tolling
              Agreement [Dkt. Nos. 284, 314/317, 336, 339, 365, 366, 368, 369, 370, 371, 386,
              393, 429, and 430, as well as Dkt. No. 9 in 2:19-cv-07421] and the Parties’ Recent
              Letters in re Tolling Agreement [Dkt. Nos. 480, 481, and 482];

             Pending Plaintiff-Specific Defendants’ Motions to Compel, Plaintiffs’ Motions to
              Withdraw, and Plaintiffs’ Motion to Sever (Averhart);

             Defendants’ Previous Request for Clean-Up CMO;

             PEC’s Motions to Challenge Privilege Claims [Dkt. Nos. 388 and 433];

             Report on Depositions;

                    Status of deposition scheduling;

                    PSC’s forthcoming requests for additional Letters Rogatory to take foreign
                     witness depositions and to Amend the Letters Rogatory for the foreign
                     witness, Barry Arnold;

                    PSC’s request to know whether for those former employee foreign
                     witnesses now represented by AstraZeneca, if AstraZeneca will accept
                     service under the Hague, and if not, provide the witnesses’ address; and

                    Central Authority of Sweden’s Request for Translation of the Court’s Letter
                     of Request and to Contact the Court;

             Update on Document Productions;

                    AstraZeneca’s SAS Productions;

                    Clinical Trial Information; and

                    Supplementation of Regulatory Files;

             Defendants’ Request that Court Enforce JPML Limitations on MDL Scope and
              Exclude Gastric Cancer Cases and Plaintiffs’ Request that such cases remain in the
              MDL [Dkt. Nos. 372, 385 and 446]; and

             PSC’s Forthcoming Request to Add Additional PSC Members.


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  III.   TELEPHONIC MONITORING OF THE CASE MANAGEMENT CONFERENCE

 As instructed by the Court, counsel has arranged for a telephonic conference line so interested
 attorneys can monitor the proceedings. Dial-in information is as follows:

 Dial In: (888) 808-6929
 Access Code: 9945288#

 Note that the status conference is scheduled to begin at 11:00 a.m. eastern.

 Dated: October 4, 2019




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